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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS

  W.M.M., et al.,
  Petitioners–Plaintiffs,

  v.

  DONALD J. TRUMP, in his official capacity as                Case No. 1:25-cv-00059-H
  President of the United States, et al.,

  Respondents–Defendants.




               MOTION TO REVIEW DOCKET ACCESS RESTRICTION
       The docket in this case is not currently available to the public. Petitioners-Plaintiffs

conferred with counsel for Respondents-Defendants, who relayed that they do not oppose

making the docket publicly available. Accordingly, Petitioners-Plaintiffs respectfully move the

Court to issue the attached proposed order.




                                                 Respectfully submitted,
Dated: April 25, 2025
                                                 /s/ Brian Klosterboer
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Patrick Toomey*                                  TX Bar No. 24078344
Sidra Mahfooz*                                   Savannah Kumar
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